Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 1 of 27 PageID 2014



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION

 KENNETH STANLEY,

                          Plaintiff,

 v.                                                           Case No: 6:11-cv-1649-Orl-36TBS

 LOCKHEED MARTIN CORPORATION,

                   Defendant.
 ___________________________________/

                                              ORDER

        This cause comes before the Court upon Defendant Lockheed Martin Corporation’s

 (“Defendant”) Motion for Summary Judgment (Doc. 26). Plaintiff Kenneth Stanley (“Plaintiff”)

 filed a Memorandum in Opposition to Defendant’s Motion for Summary Judgment

 (“Opposition”) (Doc. 34), to which Defendant replied (“Reply”) (Doc. 37). Upon consideration

 of the parties’ submissions, including memoranda and accompanying exhibits, and for the

 reasons that follow, the Court will grant Defendant’s Motion for Summary Judgment.

            I.     BACKGROUND

                       A. Undisputed Material Facts1

        From May 19, 1986 through June 1, 2010, Plaintiff was employed by Defendant. Doc.

 33, ¶ 1.        Defendant is a defense contractor that provides products and services to U.S.

 Government entities, including the Department of Defense (“DOD”). Id. at ¶ 7. Defendant is an

 “employer” as defined by the Americans With Disabilities Act (“ADA”) and the Family Medical

 Leave Act (“FMLA”). Id. at ¶¶ 3-4. Missiles and Fire Control (“MFC”) is one of Defendant’s

 units. Id. During the relevant time, Plaintiff worked at MFC’s Orlando facility. Id.
 1
   The undisputed facts are taken from the parties’ Joint Stipulation of Agreed Material Facts,
 submitted on November 7, 2012 (Doc. 33).
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 2 of 27 PageID 2015



        In 2003, Plaintiff was diagnosed with Hepatitis C. Id. at ¶ 8. Plaintiff underwent

 aggressive chemotherapy treatment in early 2004, but experienced “chronic fatigue” and was on

 disability/family medical leave for several months. Id. In March 2004, Plaintiff was promoted

 to Level 5 Reliability Engineer Senior Staff. Id. at ¶ 9.

        On December 26, 2008, a cancerous tumor was removed from Plaintiff’s right thyroid.

 Id. at ¶ 10. In January 2009, Plaintiff was transferred from his position as Product Support

 Functional Lead on the Joint Srikefighter program to a Product Support Functional Lead position

 on the Infrared Search & Track (“IRST”) Program. Id. at ¶ 11. Plaintiff’s program manager on

 IRST was David Ragsdale (“Ragsdale”), and his functional manager was Mike Haines

 (“Haines”). Id.

        On January 14, 2009, Plaintiff applied for intermittent family medical leave (“IFML”).

 Id. at ¶ 12.      Dr. Mikhail Vaysberg (“Vaysberg”) certified Plaintiff for IFML for an

 “indeterminate” period of time. Id. Defendant’s nurse Katy Solomon (“Solomon”) approved

 Plaintiff’s IFML from January 5 through June 5, 2009. Id. at ¶ 13. On March 6, 2009, Plaintiff

 underwent his second thyroid cancer surgery. Id. at ¶ 15. In April 2009, Plaintiff underwent

 radiation therapy. Id. Following his March 30, 2009 return from surgery, Plaintiff took thirty-

 seven (37) hours IFML through June 5, 2009. Id. at ¶ 16.

        On December 16, 2009, Plaintiff was given his 2009 performance evaluation: he was

 rated a “Basic Contributor.” Id. at ¶ 17. In January 2010, Plaintiff was reassigned to the Target

 Acquisition Destination Sight (“TADS”) Apache Fire Control program in an individual

 contributor role, reporting to Georgeann Lucariello and receiving daily direction from Dan Osier.

 Id. at ¶ 18. In his new position, Plaintiff’s engineering level remained a 5 and his compensation

 did not change, but his supervisory duties were removed. Id.



                                                   2
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 3 of 27 PageID 2016



        Following his 2009 evaluation and reassignment, Plaintiff complained to his Human

 Resources Business Partner, Cheryl Baron (“Baron”) and made an ethics complaint. Id. at ¶ 19.

 On January 5, 2010, Baron and Haines met with Plaintiff and explained the basis for his

 evaluation. Id. at ¶ 20. Ethics Officer Paul Cavaliere (“Cavaliere”) investigated Plaintiff’s ethics

 complaint.   Id. at ¶ 21.    Plaintiff told Cavaliere that he believed his poor evaluation and

 reassignment were due, in part, to his having been out on FMLA leave. Id.

        In January 2010, Plaintiff submitted an Employee Request for Leave of Absence, and

 was approved for another IFML. Id. at ¶¶ 14, 22. Between January and May 2010, Plaintiff took

 195 hours of leave. Id. at ¶ 22. In February 2010, it was reported to Baron that Plaintiff was at

 work fewer hours than he was reporting in the company’s electronic time keeping system, known

 as the Salary Time Attendance Recording System (“STARS”). Id. at ¶ 23. The STARS system

 requires employees to record, to the nearest tenth of an hour, the number of hours worked daily

 and to charge those hours to the appropriate charge numbers. Id. at ¶ 25. On February 18, 2010,

 Baron referred the matter to Security Investigator Joe Morton (“Morton”). Id. at ¶ 23.

        The parties agree that accurately entering time was an essential function of Plaintiff’s job.

 Id. at ¶ 24. In MFC, entering time entails opening STARS on one’s computer and entering hours

 worked on a given project next to the date/day of the week, and the daily total is automatically

 generated by the computer. Id. MFC’s time reporting policy provides that “all employees are

 responsible for proper attendance and labor reporting daily.” Id. at ¶ 25. Employees are warned

 that improper time reporting may result in disciplinary action, including termination. Id. at ¶ 26.

        On December 12, 2008, the Federal Acquisition Regulation was amended to require that

 Government contractors timely disclose, in writing, any mischarging by their employees to the

 DOD Inspector General and to the Government Contracting Officer. Id. at ¶ 27. The failure to



                                                  3
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 4 of 27 PageID 2017



 timely report confirmed mischarging by employees could render MFC subject to Government

 sanctions. Id. at ¶ 28. Plaintiff was familiar with MFC’s timekeeping policy, received annual

 training on it, knew employees could be disciplined for mischarging and that intentional

 mischarging was considered fraud, subjecting individuals and Defendant to penalties. Id. at ¶ 29.

        In response to Baron’s request for investigation, Morton reviewed Plaintiff’s gate and

 badge records, reflecting the dates and times Plaintiff drove onto Defendant’s Orlando facility

 and entered or exited its buildings. Id. at ¶ 30. Morton then compared those time records to the

 hours Plaintiff reported having worked for the period of February 1-17, 2010 and identified

 discrepancies indicating that Plaintiff had possibly mischarged 18.4 hours. Id. In accordance

 with MFC’s procedure, since the discrepancy for the initial two-week review exceeded five

 hours, Morton conducted a 90 day review which revealed a 46.2 hour discrepancy. Id. at ¶ 31.

 Defendant’s General Counsel Barton Davis (“Davis”) was told about this discrepancy and

 ordered a six month review, which revealed a discrepancy of 109.6 hours. Id. at ¶ 32.

        On March 1, 2010, Baron and Morton met with Plaintiff to discuss the results of the six

 month review. Id. at ¶ 33. Subsequently, Plaintiff testified that he did not recall the specifics of

 the conversation because he was surprised and disoriented by the data with which he was

 presented. Id. Plaintiff speculated that he may have charged his time to the wrong number, there

 may have been a Labor Cost Transfer error, or he may have mistakenly charged FMLA covered

 time to a company charge number. Id. at ¶ 34. Until the submission of his written response to

 the mischarging allegations on March 12, 2010, Plaintiff never requested an accommodation for

 time entry. Id. at ¶ 35.

        Davis directed Morton to retrieve gate records for as far back as they existed. Id. at ¶ 36.

 On April 28, 2010, Morton and Baron met with Plaintiff again, providing him with a report



                                                  4
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 5 of 27 PageID 2018



 showing shortages of 49.7 hours for four months in 2007,2 129.9 hours for 2008, 225.6 hours for

 2009, and 19.4 hours for 2010. Id. at ¶ 37. Morton told Plaintiff that since their first meeting,

 his timekeeping had been compliant. Id. at ¶ 38. Plaintiff explained that his correct timekeeping

 was the result of increased oversight by Osier and Lucariello, his awareness of the impact of his

 insomnia on his inability to concentrate, and a reduction in his medication Sythroid. Id.

          After the April 2010 meeting, Morton sent Plaintiff the report to review and explain

 discrepancies. Id. at ¶ 39. On May 13, 2010, Plaintiff identified 47 hours of discrepancies in

 2008 where the report said he was not at the plant, but his records showed he was or was on

 business travel. Id. at ¶ 40. Morton credited him with those hours. Id. Plaintiff also questioned

 36.4 hours of discrepancy between July 1 and November 13, 2008, during which he said he was

 telecommuting. Id. Morton credited him with the hours up to September 22, 2008, when his

 telecommute agreement was in place. Id. Plaintiff also argued that because there were only

 records for four months of 2007, 2007 should not be considered. Id. Barton agreed to exclude

 2007 data, and thus only 2008 through 2010 data was considered by Defendant’s Discipline

 Committee. Id.

          On May 18, 2010, Baron and Haines recommended to the Discipline Committee that

 Plaintiff be discharged for mischarging. Id. at ¶ 41. The Discipline Committee reviewed the

 case records, and decided to terminate Plaintiff’s employment due to mischarging. Id.

          On June 1, 2010, Baron and Haines told Plaintiff that he was terminated. Id. at ¶ 42. On

 June 30, 2010, Plaintiff appealed his discharge. Id. at ¶ 43. On August 13, 2010, Defendant

 notified Plaintiff that the termination decision had been upheld. Id. at ¶ 44. On June 15, 2011,

 Defendant disclosed Plaintiff’s alleged mischarging to the Office of the Inspector General of the



 2
     Morton had only four months of data from 2007, due to computer problems. Doc. 33, ¶ 37.
                                                 5
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 6 of 27 PageID 2019



 DOD, the Defense Contract Management Agency, and the Contracting Officer, notifying them

 that it would make an accounting adjustment in the amount of the overcharge. Id. at ¶ 45.

                    B. Procedural History

        Plaintiff timely filed a Charge of Disability Discrimination with the EEOC, and after

 receiving his right-to-sue, filed the Complaint in this action on October 13, 2011. Id. at ¶ 2; Doc.

 1. On November 21, 2011, Plaintiff filed an Amended Complaint; alleging three causes of action

 for violation of: (I) the ADA; (II) the FMLA; and (III) the Florida Civil Rights Act (“FCRA”).3

 Doc. 8, ¶¶ 12-52.     Following discovery, Defendant filed the instant Motion for Summary

 Judgment on all of Plaintiff’s claims. Doc. 26. On June 6, 2013, Defendant filed a Notice of

 Supplemental Authority regarding its Motion for Summary Judgment (Doc. 49).

         II.    STANDARD

        Summary judgment is appropriate when the pleadings, depositions, answers to

 interrogatories, and admissions on file, together with the affidavits, show there is no genuine

 issue as to any material fact and that the moving party is entitled to judgment as a matter of law.

 Fed. R. Civ. P. 56(c); Celotex Corp. v. Catrett, 477 U.S. 317 (1986). The moving party bears the

 initial burden of stating the basis for its motion and identifying those portions of the record

 demonstrating the absence of genuine issues of material fact. Celotex, 477 U.S. at 323; Hickson

 Corp. v. N. Crossarm Co., 357 F.3d 1256, 1259–60 (11th Cir. 2004). That burden can be

 discharged if the moving party can show the court that there is “an absence of evidence to

 support the nonmoving party’s case.” Celotex, 477 U.S. at 323.



 3
   It is unclear whether Plaintiff, in Count I of the Amended Complaint, is alleging an ADA
 retaliation claim, analyzed similarly to a Title VII claim, or a disability discrimination claim,
 focusing on Defendant’s alleged failure to make reasonable accommodation for Plaintiff’s
 disability. See Doc. 8, ¶¶ 12-26. In its Opposition, Plaintiff appears to be focusing on the later.
 The Court will address both. See Doc. 26.
                                                  6
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 7 of 27 PageID 2020



        When the moving party has discharged its burden, the nonmoving party must then

 designate specific facts showing that there is a genuine issue of material fact. Id. at 324. Issues

 of fact are “genuine only if a reasonable jury, considering the evidence present, could find for the

 nonmoving party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249 (1986). The existence of

 some factual disputes between the litigants will not defeat an otherwise properly supported

 summary judgment motion; “the requirement is that there be no genuine issue of material fact.”

 Id. at 248-49 (emphasis in original). A fact is “material” if it may affect the outcome of the suit

 under governing law. Id. at 248. In determining whether a genuine issue of material fact exists,

 the court must consider all the evidence in the light most favorable to the nonmoving party.

 Celotex, 477 U.S. at 323.

        III.    ANALYSIS

                    A. Plaintiff’s ADA claim

        The ADA prohibits covered employers from discriminating on the basis of known

 physical or mental impairments of a qualified individual with a disability. 42 U.S.C. § 12112. In

 order to establish a prima facie case of ADA discrimination, a plaintiff must show that he: (1) is

 disabled; (2) is a qualifying individual; and (3) was subject to unlawful discrimination because of

 his disability. Branscomb v. Secretary of Navy, 461 Fed. App’x 901, 903 (11th Cir. 2012);

 Cleveland v. Home Shopping Network, Inc., 369 F.3d 1189, 1193 (11th Cir. 2004). For the

 purposes of Defendant’s Motion for Summary Judgment, the parties do not contest the first two

 elements. See Doc. 26, p. 17; Doc. 34, pp. 12-13.

        However, Defendant maintains that Plaintiff cannot demonstrate the element of causation

 — that he was subject to discrimination because of his disability. Id.; see Branscomb, 461 Fed.

 Appx. at 903. ADA discriminatory retaliation is analyzed similarly to Title VII retaliation. see



                                                  7
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 8 of 27 PageID 2021



 Branscomb, 461 Fed. App’x at 903; McNeely v. Ocala Star-Banner Corp., 99 F.3d 1068, 1075-

 77 (11th Cir. 1996).

         In moving for summary judgment on Plaintiff’s ADA claim, Defendant argues that

 Plaintiff has not provided evidence that his reassignment or termination were the result of

 discrimination, and thus cannot make a prima facie case of discrimination based upon disability.

 Doc. 26. Further, Defendant maintains that the evidence shows Plaintiff’s 2009 performance

 evaluation and reassignment, the mischarge investigation, his termination, and Defendant’s

 disclosure to the DOD occurred due to legitimate non-discriminatory reasons and Plaintiff cannot

 show they were pretext for discrimination. Id. at p. 18.

                              i. Plaintiff’s prima facie case of discrimination

                                     1. Plaintiff’s 2009 evaluation and reassignment

         Plaintiff has failed to create a material issue of fact as to whether Defendant was aware of

 his alleged disability at the time of his 2009 evaluation and reassignment. Indeed, the Eleventh

 Circuit has affirmed summary judgment where the decision makers of an adverse employment

 action were unaware of plaintiff’s disability. See Cordoba v. Dillard’s, Inc., 419 F.3d 1169,

 1175 (11th Cir. 2005) (an employer cannot be liable under the ADA for firing an employee when

 it had no knowledge of the disability and plaintiff failed to show that the relevant decision maker

 knew about her alleged disability); Morisky v. Broward County, 80 F.3d 445, 448 (11th Cir.

 1996) (affirming summary judgment where employer was unaware that mental disability caused

 plaintiff’s illiteracy).   Further, neither statements revealing a general health problem nor a

 general appearance of being sick are sufficient to put an employer on notice of an employee’s

 disability. See Richio v. Miami-Dade County, 163 F. Supp. 2d 1352, 1362-63 (S.D. Fla. 2001);

 Zillyette v. Capital One Fin. Corp., 1 F. Supp. 2d 1435, 1443 (M.D. Fla. 1998).



                                                  8
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 9 of 27 PageID 2022



        Here, the record shows that Plaintiff’s 2009 evaluation contained input from Haines,

 Plaintiff’s direct supervisor Ragsdale, IRST Program Director Jerry Arlow (“Arlow”), Paul Hey

 (“Hey”) and Pat Nelson. Doc. 26, ¶ 37; Deposition of David Ragsdale, September 24, 2012,

 Doc. 28-Ex. 48 (“Ragsdale Dep.”), 19:16-22; Declaration of Michael Haines, Doc. 26-Ex. 17

 (“Haines Dec.”), ¶ 7. Haines testified that although he knew Plaintiff had been on FMLA leave

 and had undergone surgery, he only considered Plaintiff’s performance in preparing his 2009

 evaluation. Haines Dec. ¶ 10. Similarly, Ragsdale confirmed that Plaintiff’s FMLA status was

 not a factor considered in preparing his evaluation, and those involved only evaluated the time

 that he was working. Ragsdale Dep., 34:17-35:5. Moreover, Ragsdale provided specific facts

 about the nature of Plaintiff’s poor performance. Id. at 30-40. Further, Hey testified that, based

 upon his observations of Plaintiff’s performance problems, he provided critical comments in

 Plaintiff’s evaluation. Declaration of Paul Hey, Doc. 27-Ex. 18 (“Hey Dec.”), ¶ 3. Moreover,

 Hey testified that during the time he was the Program Manager of the IRST Program and

 provided input into Plaintiff’s evaluation, he did not know about Plaintiff’s medical condition,

 including whether he had requested FMLA leave or any accommodations. Id. at ¶ 4. Similarly,

 Arlow testified that as IRST Program Director in 2009, he learned about Plaintiff’s performance

 issues including missing deadlines for proposals, not completing assigned inventory tasks, and

 not having action items completed for the Preliminary Design Review. Declaration of Jerry

 Arlow, Doc. 27-Ex. 1 (“Arlow Dec.”), ¶ 3. Accordingly, Arlow provided critical input for

 Plaintiff’s evaluation. Id. at ¶ 4. Also, Arlow testified that until he learned of the instant case, he

 was unaware of Plaintiff’s medical issues, including whether he had sought FMLA leave or any

 accommodation. Id. at ¶ 5.




                                                   9
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 10 of 27 PageID 2023



        Plaintiff testified that after returning to work following his first surgery, he had a

 conversation with Ragsdale about his health issues.4 Deposition of Kenneth Stanley, July 10,

 2012, Doc. 28-Exs. 1-2 (“Stanley Dep.”), p. 113. Plaintiff testified that Ragsdale responded by

 asking “Are you going to die?” to which he responded “I’m not sure.” Id. p. 114. Ragsdale

 strongly denies that such a conversation occurred, and testified that other than hearing via email

 that Plaintiff had surgery, he never knew Plaintiff had thyroid cancer or the nature of his FMLA

 leave until preparing for his deposition in this action. See Ragsdale Dep., pp. 11, 13, 38-41.5 To

 the contrary, Haines, Ragsdale, Arlow and Hey each testified that Plaintiff’s poor performance

 provided the basis for his 2009 evaluation. Doc. 37, p. 2.

        Although Plaintiff contends that Ragsdale learned in March 2009 that he had cancer

 surgery, Plaintiff provides no evidence of causation between Ragsdale’s knowledge and the

 performance evaluation he received nine months later. Furthermore, the Eleventh Circuit has

 found that in the absence of other evidence of causation, three months proximity between a

 protected activity and an adverse employment action is insufficient to create a jury issue on

 causation. Drago v. Jenne, 453 F.3d 1301, 1308 (11th Cir. 2006); Wascura v. City of South

 Miami, 257 F.3d 1238, 1248 (11th Cir. 2001).

        With respect to his reassignment, Plaintiff testified that following the conversation in

 which he was reassigned, Haines told him “I don’t want you to make any noise about this or

 you’re going to have a problem.” Id. at 128. Plaintiff interpreted Haines’ comment to mean do



 4
   Although Plaintiff testified that he told two other individuals at the management level about his
 thyroid cancer prior to the mischarging investigation, Peter Jonacz and Patrick Miller, he has
 provided no evidence that they were involved in the 2009 evaluation or reassignment, or the
 mischarging investigation. Stanley Dep., pp. 222-227.
 5
   Indeed, Ragsdale testified that given his own sister had thyroid cancer, he would have
 definitely recalled if Plaintiff had told him that was what his surgery was for. Ragsdale Dep., p.
 21.
                                                 10
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 11 of 27 PageID 2024



 not complain about the negative evaluation or the reassignment. Id. However, at the time of his

 reassignment, Arlow testified that he was unaware of Plaintiff’s medical condition and Haines

 testified that he only knew that Plaintiff had undergone surgery. Ragsdale Dep. p. 34, Haines

 Dec. ¶¶ 7, 10; Hey Dec. ¶ 4; Arlow Dec. ¶ 5.

        Plaintiff has not created a genuine issue of material fact with respect to whether his

 alleged disability was causally related to his 2009 evaluation or reassignment. See Celotex, 477

 U.S. at 322-23. In fact, there is no evidence that Defendant’s employees knew the details of

 Plaintiff’s medical status or the limitations it created. Even assuming Plaintiff’s testimony

 regarding Ragsdale and Haines’ comments are true, neither shows that his medical condition or

 alleged disability contributed to his 2009 evaluation or reassignment. Plaintiff’s own assertion

 that he believes his negative evaluation and reassignment were not the result of poor

 performance, but rather of discrimination, cannot defeat summary judgment. See Celotex, 477

 U.S. at 322-23; Zhejiang Shaoxing Yongli Printing and Dyeing Co., Ltd. v. Microflock Textile

 Group Corp., 2008 WL 2098062, *2 (S.D. Fla. 2008) (“Consequently, the non-moving party

 cannot merely rest upon his bare assertions, conclusory allegations, surmises or conjectures.”).

                                   2. The charging investigation and Plaintiff’s termination

        The record clearly shows that concerns with Plaintiff’s work triggered the mischarging

 investigation, and that the results of the mischarging investigation caused Plaintiff’s termination.

 See Declaration of Cheryl Baron, Doc. 27-Ex. 2 (“Baron Dec.”), ¶ 5.6 Baron explained that at

 the time of the investigation, she did not know details about Plaintiff’s medical condition, and

 the fact that he had taken FMLA leave previously played no part in her decision to investigate

 his mischarging. Id. In fact, Baron testified that she learned about Plaintiff’s medical condition

 6
  “In February 2010, Ms. Osier and Ms. Lucariello told me they believed Mr. Stanley was at
 work fewer hours than he was reporting in STARS.”
                                                 11
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 12 of 27 PageID 2025



 in the course of her investigation, from the statement Plaintiff provided to the investigators.

 Deposition of Cheryl Baron, May 23, 2012, Doc. 28-Ex. 43 (“Baron Dep.”), pp. 16-18.

        After the initial review indicated Plaintiff had mischarged eighteen hours, MFC’s General

 Counsel, Davis, directed a six month review, revealing a time shortage of 109.6 hours. See

 Declaration of Barton Bolling Davis, Doc. 27-Ex. 5 (“Davis Dec.”), ¶¶ 11-12. Next, Davis

 requested a review of all records pertinent to Plaintiff, going back to 2006. Id. at ¶ 12. Davis

 affirmed that when he ordered the broader investigation, he was unaware of any of Plaintiff’s

 medical history or past requests for FMLA leave. Id. at ¶ 13. David Klimpel (“Klimpel”), the

 Human Resources Senior Manager for Defendant’s MFC unit, testified that the Discipline

 Committee, which he chaired, reviewed Plaintiff’s case summary including the investigative

 report, Plaintiff’s work history and responses, and decided to terminate plaintiff’s employment

 solely “based on his extensive mischarging.” Declaration of David Klimpel, Doc. 27-Ex. 19,

 (“Klimpel Dec.”), ¶¶ 5. Klimpel affirmed that neither Plaintiff’s medical condition nor his prior

 FMLA leave was a factor in his termination. Id. at ¶ 6; see Deposition of David Klimpel, May

 23, 2012, Doc. 28-Ex. 47 (“Klimpel Dep.”), pp. 55-57 (testifying that Plaintiff’s reassignment

 was not a demotion and that the mischarging was the sole reason for Plaintiff’s termination).

 Similarly, Ragsdale testified that in addition to not knowing the details of Plaintiff’s condition, it

 was certainly not a factor in the charging investigation or Plaintiff’s termination. Ragsdale Dep.,

 pp. 11,7 34.    Also, Klimpel swore that the sole reason for Plaintiff’s termination was his

 mischarging. Klimpel Dec. ¶ 6.




 7
   “I wasn’t made aware of [Plaintiff’s] medical condition in any way, other then the –when I got
 the materials to prepare for this deposition. I knew he took FMLA and was approved for that,
 and I knew he had a surgery performed. But I didn’t connect medical condition; I wasn’t aware
 of any medical condition that he had. I know he was approved for FMLA for a period in 2009.”
                                                  12
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 13 of 27 PageID 2026



         With respect to Plaintiff’s termination, the record demonstrates that Baron and Haines,

 who recommended Plaintiff’s discharge, and Defendant’s Discharge Committee, learned that

 Plaintiff alleged he was disabled through his response to the mischarging charges.           Upon

 responding to the allegations, Plaintiff explained that the dosage of his synthetic thyroid

 medication, Synthroid, was increased in July 2009, exacerbating his insomnia and requiring him

 to take Ambien, which had deleterious effects on his thinking and concentration. Doc. 28-Ex.

 22, p. 2.    Plaintiff explained that while he believed his work performance was generally

 adequate, he did “not dispute that the side effects from [his] insomnia and regiment of treatment

 to fight Thyroid cancer may have caused some of the errors in [his] time entries and other work

 tasks.” Id. at 3.

         Plaintiff’s belief that his disability and medical conditions caused his termination is the

 only evidence of causation before the Court. Plaintiff believes that the expanded temporal scope

 of the mischarging investigation and resulting termination were in retaliation for his taking

 FMLA leave. Stanley Dep., pp. 178-180, 227-38. However, in addition to substantial evidence

 that those responsible for the decision did not know details of Plaintiff’s health condition, other

 evidence tends to disprove Plaintiff’s theory of causation. First, between December 2008 and

 June 2010, four other employees were discharged from MFC for mischarging, none of whom

 were disabled.      Klimpel Dec. ¶ 12.   Second, Defendant’s uncontroverted testimony that it

 disclosed Plaintiff’s mischarging to the DOD and refunded the amount of overcharge, tends to

 disprove any theory of causation. Davis Dec., ¶ 14; see Doc. 27-Ex. 9 (Letter from Davis to

 Inspector General of DOD disclosing Plaintiff’s Mischarging). The Court agrees that it is

 improbable that Defendant would self-report Plaintiff’s mischarging, necessitating a monetary




                                                 13
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 14 of 27 PageID 2027



 refund and subjecting Defendant to possible sanction, if the mischarging was not the actual cause

 of Plaintiff’s termination. Doc. 26, p. 20.

        In the Eleventh Circuit, a factual issue must have a real basis in the record and

 unsupported allegations are insufficient to defeat a motion for summary judgment. Pace v.

 Capobianco, 283 F.3d 1275, 1278 (11th Cir. 2002); Ellis v. England, 432 F.3d 1321, 1326 (11th

 Cir. 1994). Here, Plaintiff has failed to create a triable issue of fact regarding the causal link

 between the adverse employment events and Plaintiff’s alleged disability. See Branscomb, 461

 Fed. Appx. at 903; Stewart, 117 F.3d at 1287.

                            ii. Defendant’s legitimate, non-retaliatory reason

        As discussed, the Court finds that Plaintiff has failed to establish evidence supporting the

 causal relationship between his alleged disability and the adverse employment events.

 Nevertheless, even if Plaintiff had presented triable issues of fact as to his prima facie case of

 discrimination, Defendant has clearly presented its legitimate, non-retaliatory reason for

 terminating Plaintiff.

        Once a plaintiff has presented its prima facie case, a defendant has the burden to

 “articulate a legitimate, nondiscriminatory reason for the challenged employment action.”

 Chapman v. Al Transport, 229 F.3d 1012, 1024 (11th Cir. 2000); Carter v. City of Miami, 870

 F.2d 58, 584 (11th Cir. 1989). This intermediate burden is “exceedingly light.” Holifield v.

 Reno, 115 F.3d 1555, 1564 (11th Cir. 1997). Here, the Court has discussed the evidence

 showing that Defendant had a legitimate, non-retaliatory reason for Plaintiff’s 2009 evaluation,

 reassignment, the charging investigation, and termination. See supra, III(A)(i). Indeed, the

 Eleventh Circuit has recognized that an employee’s falsification of time records is a legitimate




                                                 14
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 15 of 27 PageID 2028



 reason for terminating an employee. Crawford v. Chao, 158 Fed. App’x 216, 219 (11th Cir.

 2005).

                           iii. Plaintiff’s burden of showing pretext

          After a defendant has articulated its legitimate reason, the burden of production shifts

 back to the plaintiff to demonstrate that defendant’s articulated reason for the adverse action is

 merely pretext for unlawful discrimination. Hurlbert v. St. Mary’s Healthcare System, Inc., 439

 F.3d 1286, 1297 (11th Cir. 2006); Munnings v. Fedex Ground Package Systems, Inc., 2008 WL

 1849003, *21 (M.D. Fla. 2008).        The plaintiff has the opportunity to come forward with

 evidence, including the previously produced evidence establishing the prima facie case,

 sufficient to permit a reasonable fact finder to conclude that the reasons given by the employer

 were not the real reasons for the adverse employment decision. Chapman, 229 F.3d at 1024-25.

 If the plaintiff does not proffer sufficient evidence to create a genuine issue of material fact

 regarding whether the defendant employer’s articulated reasons are pretextual, the employer is

 entitled to summary judgment on the plaintiff’s claim. Id. Where, as here, the proffered

 legitimate, nondiscriminatory reason is plaintiff’s violation of a work policy, it can be found

 pretextual when a plaintiff submits evidence either that he did not violate the cited policy or that

 other employees who engaged in similar acts were treated differently. Lopez v. AT&T Corp.,

 457 Fed. App’x. 872, 875 (11th Cir. 2012).

          In his Opposition, Plaintiff first “denies mischarging and believes he would have been

 able to establish this fact if he had been provided with adequate time and resources.” Doc. 34, p.

 15. However, as Defendant notes, Plaintiff has not produced any evidence to support this claim,

 either to Defendant in the months between being accused of mischarging and his termination, or

 to this Court. Doc. 37, p. 6. Indeed, in his written response to the accusation from the sixth



                                                 15
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 16 of 27 PageID 2029



 month review, Plaintiff explained his mischarging was at least partially caused by the effects of

 his medical treatment, but did not deny that he had mischarged. See Doc. 28-Ex. 22, p. 2.8

 Further, with respect to the larger investigation, the parties have stipulated that in April, 2010,

 Morton and Baron met with Plaintiff, providing him with a report showing shortages of 49.7

 hours for four months in 2007, 129.9 hours for 2008, 225.6 hours for 2009, and 19.4 hours for

 2010. Doc. 33 at ¶ 37. Plaintiff has provided no evidence that he did not mischarge 374.9 hours

 between 2008 and 2010. See Lopez, 457 Fed. App’x at 875; Doc. 37, p. 7.

        Second, Plaintiff has failed to provide any evidence that Defendant’s reason was false or

 that discrimination was the actual reason for his termination. See Lopez, 457 Fed. App’x at 875;

 Alvarez v. Royal Atlantic Developers, Inc., 610 F.3d 1253, 1266 (11th Cir. 2010). If, as here, the

 proffered reason is one that would motivate a reasonable employer, the plaintiff “must meet that

 reason head on and rebut it” rather than “simply quarreling with the wisdom of that reason.”

 Alvarez, 610 F.3d at 1265-66.       In his Opposition, Plaintiff argues that two facts suggest

 Defendant’s improper motive: (1) Plaintiff’s supervisors were not punished for his mischarging

 although Defendant’s policy provides for disciplinary actions for both employee and supervisor;

 and (2) the mischarging investigation began the same day as Plaintiff’s ethics complaint. Doc.

 34, pp. 15-17.

        First, although Defendant’s policy warns supervisors that they “may” be disciplined for

 their employees’ mischarging, Defendant maintains that there was no reason to discipline a



 8
   “Pursuant to your request, I have reviewed my time entries for the period of August 31, 2009
 through February 18, 2010. Unfortunately, and as better explained below, I am not able to
 address each entry or alleged incorrect entry with the level of specificity that you may have
 desired. Many entries are attributable directly to medical appointments while some are merely
 inadvertent errors. Notably, however, none of the errors were intentional. In fact, I believe that
 any errors made by me during this time period were directly related to a disability/impairment
 and the regimen of treatment I have received to combat same.”
                                                 16
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 17 of 27 PageID 2030



 supervisor in Plaintiff’s case, pursuant to its policy. Doc. 37, p. 8; see Supp. Baron Dec., Doc.

 38-Ex. 1, ¶¶ 7-8. Here, the evidence shows that once Lucariello became suspicious that Plaintiff

 was mischarging, she referred the matter to Baron’s review pursuant to Defendant’s policy which

 requires a supervisor to report serious mischarging, and thus would have no reason to be

 disciplined. Id.; see Doc. 34-Ex. 7 (Defendant’s STARS timekeeping policy). Further, Baron

 testified that no Orlando supervisor was disciplined for a subordinate’s mischarging during the

 period when Plaintiff mischarged. Id. at ¶ 9. Given Klimpel’s testimony that between December

 2008 and June 2010, four other employees were discharged from MFC for mischarging, none of

 whom were disabled, it appears that the failure to discipline the supervisor of an employee

 disciplined for mischarging was typical. See Klimpel Dec. ¶ 12

        Second, Cavaliere, who investigated Plaintiff’s ethics complaint, testified that the

 complaint concerned his 2009 performance review and reassignment, and was not directed

 against any individual. See Supplemental Declaration of Paul Cavaliere, Doc. 38-Ex. 8, ¶¶ 4-5.

 Although Haines was aware Plaintiff filed an ethics complaint about his performance review, he

 never thought it was against him. See Haines Dep., pp. 34-35. The evidence shows that

 Plaintiff’s 2009 ethics complaint was about his performance and Haines was not the “subject”, as

 Plaintiff posits in his Opposition.9 Doc. 34, p. 15.

        Plaintiff has failed to demonstrate that he did not violate Defendant’s timekeeping policy,

 or that if he did, others who did were treated differently. See Alvarez, 610 F.3d at 1265-66. The

 Court is not persuaded by Plaintiff’s conjecture that Haines was motivated by retaliatory animus

 in conducting the mischarge investigation which led to his termination. See Celotex, 477 U.S. at

 9
   Moreover, the evidence indicates that Haines did not initiate the mischarging investigation.
 Plaintiff’s supervisor, Lucariello, informed Haines that Plaintiff failed to appear for work at his
 new assignment on January 4, 2010 and that he was taking vacation time without prior
 management approval. Haines Dep., 21-22, 24-25.
                                                  17
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 18 of 27 PageID 2031



 322-23. As Plaintiff has failed to meet his burden of showing that Defendant’s proffered reason

 is pretextual, the Court will grant Defendant summary judgment on Plaintiff’s ADA claim. See

 Hurlbert, 439 F.3d at 1297; Young v. City of Palm Bay, 358 F.3d 859, 860 (11th Cir. 2004).

                          iv. Plaintiff’s ADA Accommodation Claim

        From his Opposition, it appears Plaintiff is arguing that he made a reasonable request for

 accommodation that was denied in violation of the ADA.           Doc. 34, pp. 13-15.      Indeed,

 discrimination under the ADA includes “not making a reasonable accommodation to the known

 physical or mental limitations of an otherwise qualified individual with a disability who is an

 applicant or employee …” 42 U.S.C. § 12112(b)(5)(A).

        First, Plaintiff argues that he requested assistance in reviewing his time keeping records,

 an accommodation which “was perfectly reasonable and hardly burdensome.” Doc. 34, p. 14.

 Plaintiff concedes that he made no specific request for accommodation before March 12, 2010,

 but argues that Eleventh Circuit law is “unsettled as to the precise form that a request for

 accommodation under the ADA must take.”10 Id. (citing United States v. Hialeah Housing

 Authority, 418 Fed. Appx. 872, 876 (11th Cir. 2011)). Also, Plaintiff argues that his FMLA

 usage and other information provided to Defendant prior to his reassignment should be deemed a

 sufficient accommodation request. Doc. 34, p. 11.

        Contrary to Plaintiff’s position, the law is clear that an employee’s request for

 accommodation must be direct, specific, and identify how it is linked to his disability. Hialeah

 Housing, 418 Fed. Appx. at 876 (“the duty to provide a reasonable accommodation is not

 triggered unless a specific demand for an accommodation has been made”); Schwarz v. City of

 10
    Plaintiff says that after their initial meeting regarding his mischarging, he told Morton and
 Baron that he was ill and “on FMLA”, and suggested, as an accommodation, going forward, that
 his supervisors review his time entries on a weekly basis. See Stanley Dep., pp. 91-94; Doc. 24,
 p. 6.
                                                18
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 19 of 27 PageID 2032



 Treasure Island, 544 F.3d 1201, 1219 (11th Cir.2008) (“[T]he duty to make a reasonable

 accommodation does not simply spring from the fact that the handicapped person wants such an

 accommodation made. Defendants must instead have … the ability to conduct a meaningful

 review of the requested accommodation”). In fact, the “burden of identifying an accommodation

 that would allow a qualified individual to perform the job rests with that individual, as does the

 ultimate burden of persuasion with respect to demonstrating that such an accommodation is

 reasonable.” Stewart, 117 F.3d at 1286.

        Here, Plaintiff’s concession that he requested the accommodation of help keeping time in

 response to Defendant’s accusation of his mischarging eliminates a causal relationship. Indeed,

 the Eleventh Circuit explicitly rejects the argument that an employee is entitled to retroactive

 accommodation. Wood v. Green, 323 F.3d 1309, 1313 (11th Cir. 2003) (ADA accommodation

 regulations “are formulated entirely in the present tense”).        With respect to the FMLA

 documents, Plaintiff acknowledges Jenks v. Naples Cmty. Hosp., Inc., which explicitly rejects

 the argument that plaintiff’s FMLA documents could be construed as a request for

 accommodation. 829 F. Supp. 2d 1235 (M.D. Fla. 2011). The Jenks court found that although

 the FMLA paperwork showed fatigue was a side effect of plaintiff’s condition, the request for

 accommodation needed to be more specific. Id. at 1235.11

        Finally, to the extent that Plaintiff testified that he requested to work part time or needed

 to take “fatigue time” in 2009, Baron testified that Plaintiff never submitted a work related

 modification request pursuant to Defendant’s reasonable accommodation policy, which would

 have triggered a committee review of any such request. See Baron Dec., ¶ 15; Doc. 27-Ex. 3.



 11
   While Plaintiff argues that the Eleventh Circuit law on this issue is “unsettled”, he cites only
 the one case directly rejecting his argument that FMLA documents can constitute a request for
 accommodation, and does not cite any supportive law within the Circuit. Doc. 34, p. 14.
                                                 19
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 20 of 27 PageID 2033



 Furthermore, even if Plaintiff had requested such an accommodation, the record suggests that

 working part time would not have been necessary or reasonable.              See Deposition of Dr.

 Vaysberg, August 23, 2012, Doc. 28-Ex. 51, (“Vaysberg Dep.”), pp. 25-26 (indicating Plaintiff

 was authorized to work without restriction beginning March 30, 2009 but may need intermittent

 leave for speech therapy).

        Plaintiff has provided no support showing that he made a good faith reasonable request

 for accommodation. To the contrary, by requesting help keeping time for the first time upon

 being confronted with his mischarging, Plaintiff necessarily did not make a sufficiently specific

 request before the alleged discrimination occurred.        See Hialeah, 418 Fed. Appx. at 876;

 Schwartz, 544 F.3d at 1219; Jenks, 829 F. Supp. 2d at 1238.

                    B. Plaintiff’s FCRA claim

        Count III of Plaintiff’s Amended Complaint is for relief under the FCRA, Fla. Stat. Ann.

 § 760.10, which provides that it is unlawful for an employer to discriminate against an individual

 on the basis of, inter alia, an individual’s “handicap.” Fla. Stat. § 760.10(1)(a).

        The analysis of an FCRA claim is identical to the one used for the ADA. Albra v. Advan,

 Inc., 490 F.3d 826, 835 (11th Cir. 2007); Byrd v. BT Foods, Inc., 948 So. 2d 921, 925 (Fla. 4th

 DCA 2007) (“As applied to discrimination based on a handicap, the FCRA is construed in

 conformity with the federal Americans with Disabilities Act (ADA).”); Wimberly v. Security

 Technology Group, Inc. 866 So. 2d 146, 147 (Fla. 4th DCA 2004) (“Because Florida Courts

 construe the FCRA in conformity with the ADA, a disability discrimination cause of action is

 analyzed under the ADA.”) Accordingly, the Court’s conclusion that Plaintiff has not created a

 genuine issue of material fact to defeat summary judgment on his ADA claim means that

 Defendant is entitled to summary judgment on Plaintiff’s FCRA claim. See supra, III(A).



                                                  20
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 21 of 27 PageID 2034



                   C. Plaintiff’s FMLA claim

        In Count II, Plaintiff alleges that Defendant violated the FMLA by retaliating against him

 for seeking and taking FMLA leave and by interfering with his FMLA rights. Doc. 8, ¶¶ 31, 33.

 The FMLA entitles eligible employees to take up to twelve weeks of leave during any one-year

 period for medical reasons, including their own serious health condition. 29 U.S.C. § 2612(a)(1).

 The FMLA creates a private right of action against employers who “interfere with, restrain, or

 deny the exercise or the attempt to exercise” FMLA rights. 29 U.S.C. §§ 2615(a)(1), 2617.

                           i. FMLA retaliation claim

        In an FMLA retaliation claim, an employee asserts that his employer discriminated

 against him because he engaged in activity protected by the Act. 29 U.S.C. §§ 2615(a)(2). To

 succeed on a claim of retaliation, an employee must demonstrate that his employer intentionally

 discriminated against him in the form of an adverse employment action for having exercised an

 FMLA right. Strickland v. Waterworks and Sewer Bd. of the City of Birmingham, 239 F.3d

 1199, 1207 (11th Cir. 2001). In the absence of direct evidence of an employer’s intent, the

 Eleventh Circuit applies the same burden shifting framework of Title VII discrimination claims

 to FMLA retaliation claims. Brungart v. BellSouth Telecomm. Inc., 231 F.3d 791, 798 (11th Cir.

 2000). To prove a claim of retaliation, an employee must establish that: (1) he engaged in a

 statutorily protected activity; (2) he suffered an adverse employment decision; and (3) the

 decision was causally related to the protected activity. Parris v. Miami Herald Publishing Co.,

 216 F.3d 1298, 1301 (11th Cir. 2000); Jirau v. Camden Dev., Inc., 2011 WL 2981818, *3 (M.D.

 Fla. 2011). Also, a plaintiff bringing an FMLA retaliation claim faces the increased burden of

 showing that his employer’s actions “were motivated by an impermissible retaliatory or




                                                21
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 22 of 27 PageID 2035



 discriminatory animus.” Strickland, 239 F.3d at 1207; O’Connor v. PCA Family Health Plan,

 Inc., 200 F.3d 1349, 1353-54 (11th Cir. 2000).

        Defendant argues that Plaintiff cannot show a causal connection between the exercise of

 his FMLA rights and his 2009 evaluation, reassignment, the mischarge investigation or his

 termination. Doc. 26, pp. 23-26. Also, Defendant reiterates the legitimate, non-retaliatory

 reasons for each of these adverse events, arguing that they would have occurred regardless of

 whether or not Plaintiff exercised his FMLA rights. Id. at 23.

        The Court agrees that Plaintiff has not presented a genuine issue of material fact as to the

 causal connection between his FMLA leave and adverse employment events. As discussed at

 length with respect to Plaintiff’s ADA claim, the only decision makers with knowledge that

 Plaintiff had taken FMLA leave were Ragsdale and Haines, and each testified that Plaintiff’s

 FMLA leave was not considered in the 2009 evaluation. See supra, III(A)(i)(1). The other

 employees with input in Plaintiff’s 2009 evaluation and reassignment testified that they did not

 know about his leave at the time of their decision. See, e.g. Haines Dec. ¶ 10; Ragsdale Dep.,

 34:17-35:5; Hey Dec., ¶ 3; Arlow Dec., ¶ 3. The Eleventh Circuit has repeatedly held that “[a]

 decision maker cannot have been motivated to retaliate by something unknown to him.”

 Brungart, 231 F.3d at 799; Strickland, 239 F.3d at 1208. With respect to the mischarging

 investigation and Plaintiff’s termination, the Court has found that Plaintiff did not create a

 genuine issue of fact regarding whether Plaintiff’s alleged disability was causally related to these

 events. See supra, III(A)(i)(2). Similarly, here, the unrebutted evidence shows that although the

 decision makers were aware of Plaintiff’s FMLA leave, it was not a factor in their decision to

 terminate Plaintiff. See Davis Dec. ¶ 5, Baron Dec. ¶ 13, Haines Dec. ¶ 10, Klimpel Dec. ¶ 6,

 Arlow Dec. ¶5, Ragsdale Dep., pp. 11-12, 33-35.



                                                  22
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 23 of 27 PageID 2036



        Moreover, even had Plaintiff presented a prima facie case of FMLA retaliation,

 Defendant proffered a legitimate, non-retaliatory reason for its actions, and Plaintiff has not

 created a genuine issue of fact as to whether Defendant’s reason is pretextual. See supra,

 III(A)(iii)-(iv); Drago, 453 F.3d at 1307; Hairston, 9 F.3d at 919. Indeed, Plaintiff has presented

 no evidence contradicting Defendant’s extensive testimony that it had a legitimate reason to

 believe Plaintiff was mischarging his time, investigate, and terminate him.

        Plaintiff’s additional argument for pretext with respect to the FMLA retaliation claim is

 particularly unpersuasive. See Doc. 34, p. 16. Plaintiff states that Baron “failed to mention at

 the disciplinary hearing the Plaintiff’s FMLA status, his medical conditions of which she was

 fully aware, or the fact that the co-requestor for Stanley’s termination had been recently accused

 of ethical misconduct by Stanley.” Id. at 16. First, as Defendant argues, Plaintiff’s FMLA status

 was irrelevant to the subject of the Discipline Committee. Doc. 37, pp. 6-7. Indeed, Plaintiff has

 argued that any decision maker who could have been aware of his FMLA leave was retaliating

 against him, and now asserts that his FMLA status should have been discussed with respect to

 termination. Second, contrary to Plaintiff’s argument, the Discipline Committee was clearly

 aware of Plaintiff’s medical condition at the time of its decision to terminate. The evidence

 clearly shows that the Discipline Committee had the entire investigative record, including

 Plaintiff’s written response which contains details of his alleged disability. See Baron Supp.

 Dec. ¶ 4; Doc. 28-Ex. 22, p. 2. Klimpel, who oversaw Plaintiff’s Discipline Committee hearing,

 declared that the sole reason for his termination was the mischarging, and that neither his FMLA

 leave nor any medical condition was a factor. Klimpel Dec. ¶ 6.




                                                 23
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 24 of 27 PageID 2037



         Plaintiff has not met his burden to present credible evidence of pretext, and accordingly,

 the Court will grant summary judgment and dismiss Plaintiff’s claim of FMLA retaliation. See

 Strickland, 239 F.3d at 1207; Brungart, 231 F.3d at 798.

                           ii. FMLA interference claim

         To state a claim that that Defendant interfered with Plaintiff’s substantive FMLA rights,

 Plaintiff must demonstrate, by a preponderance of the evidence, that he was entitled to, but

 denied an FMLA right. 29 U.S.C. §§ 2615(a)(1); Strickland, 239 F.3d at 120-07; Martin v.

 Brevard County Public Schools, 543 F.3d 1261, 1353-54 (11th Cir. 2008). An employee need

 not allege that his employer intended to deny the right—the employer’s motives are irrelevant.

 Martin, 543 F.3d at 1267. The FMLA does not provide relief unless the employee has been

 prejudiced by the violation. Ragsdale v. Wolverine World Wide, Inc., 535 U.S. 81, 89 (2002);

 Drago, 453 F.3d at 1307 (“[E]ven where there may have been technical violations of the FMLA,

 those violations are not compensable where, as here, a plaintiff has failed to demonstrate that he

 suffered any adverse employment action.”).

         In the Amended Complaint, Plaintiff alleges that he sought “intermittent FMLA leave to

 relieve the effects of his mental impairments upon his sleep, thinking and concentration” but that

 his supervisor “was so hostile to [his] use of FMLA leave for this purpose that [he] could only

 use it very sparingly.”    Doc. 8, ¶ 31.     In his Opposition, Plaintiff appears to clarify this

 allegation, arguing that Defendant impermissibly denied his FMLA leave, and refused to respect

 the leave by imposing burdensome duties on Plaintiff during the mischarging investigation. Doc.

 34, p. 17.

         Defendant maintains that there is no evidence that Plaintiff was denied FMLA leave.

 Doc. 37, p. 4. Solomon approved intermittent FMLA leave for Plaintiff from January 5, 2009



                                                 24
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 25 of 27 PageID 2038



 through June 5, 2009, and although Plaintiff was notified that his intermittent leave would end on

 June 5, 2009 and Plaintiff could have requested an extension, he did not. Solomon Dec. ¶ 3; see

 email, Doc. 27-Ex. 27; see also Declaration of Gule Emran, Doc. 27-Ex. 10 (“Emran Dec.”), ¶ 3.

 Solomon explained that Plaintiff’s throat surgeon, Vaysberg, authorized an indeterminate period

 for Plaintiff, and represented that Plaintiff would be able to work without restriction starting

 March 30, 2009. See Doc. 27-Ex. 28.12 Solomon further testified that she never denied any of

 Plaintiff’s requests for FMLA leave. Solomon Dec. ¶ 6. Similarly, Vaysberg confirmed that

 Plaintiff would be able to return to work without restriction as of March 30, 2009, and certified

 intermittent FMLA leave merely to provide Plaintiff, who sang in a rock band, the opportunity to

 get voice therapy following the surgery. Vaysberg Dep., pp. 11, 25-27 (testifying that although

 Plaintiff would be able to work without restriction after March 30, 2009, he may need to

 occasionally take time to attend speech therapy sessions).13

         Following the expiration of the leave approved by Solomon, which Plaintiff did not seek

 to extend, Ragsdale approved 18.5 hours of FMLA leave between June 6 and December 31,

 2009.   Morton Dec. ¶ 18, Ragsdale Dep. pp. 39-41.             Subsequently, after approval from

 Defendant, Plaintiff took an additional 195 hours of FMLA leave between January and May

 2010. Emran Dec. ¶ 4.




 12
    In the Return to Work/Fitness for Duty Authorization Form, Dr. Vaysberg represented that
 Plaintiff would be able to work as of March 30, 2009 without any restrictions. Doc. 27-Ex. 28.
 Vaysberg indicated that Plaintiff would need some continued intermittent absences for treatment
 of his health condition.
 13
    Further, Defendant notes that Plaintiff never sought leave for voice therapy, and argues that an
 employer can defeat an FMLA interference claim by showing that the employee did not take
 FMLA leave “for the intended purpose of the leave.” Doc. 37, p. 10; Andrews v. CSX Transp.,
 Inc., 2009 WL 5176462, *6-8 (M.D. Fla. 2009). Given Plaintiff has not provided evidence that
 he was denied any FMLA leave that he was requested, the Court need not address this issue.
                                                 25
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 26 of 27 PageID 2039



        Additionally, the record demonstrates that Plaintiff was not “discouraged” to take FMLA

 leave. Plaintiff testified that in February 2009, he submitted a time card with FMLA absences,

 and Ragsdale instructed him to “put in the time”, which he interpreted as discouragement from

 taking FMLA time. Stanley Dep., pp. 120-121. However, Plaintiff testified that Ragsdale

 approved three additional FMLA weeks in March 2009, and the record shows that Plaintiff took

 55 more FMLA hours between his March 30, 2009 return to work from surgery and his

 reassignment in December 2009, all approved by Ragsdale. Morton Dec. ¶ 18; Ragsdale Dep.,

 pp. 39-45. Also, as Defendant notes, Plaintiff never mentioned this conversation with Ragsdale

 to any superior or in his 2009 ethics complaint. Doc. 26. Plaintiff concedes that he raised

 Ragsdale’s alleged comment for the first time after his termination. Stanley Dep., pp. 125-27.

        Plaintiff has provided no evidence that Defendant limited his FMLA leave, or that he was

 ever denied any requested FMLA leave.         In fact, Defendant has provided uncontroverted

 evidence that Plaintiff received all of the FMLA leave that he requested. The FMLA only

 provides relief when the employee has been prejudiced by a violation. Ragsdale 535 U.S. at 89;

 Drago, 453 F.3d at 1307.

        Given Plaintiff’s failure to demonstrate, by a preponderance of the evidence, that he was

 denied FMLA rights to which he was entitled, the Court will grant Defendant summary judgment

 on Plaintiff’s FMLA interference claim. See 29 U.S.C. §§ 2615(a)(1); Strickland, 239 F.3d at

 1207; Martin, 543 F.3d at 1353-54.

        IV.    CONCLUSION

        For the aforementioned reasons, the Court will grant Defendant’s Motion for Summary

 Judgment, as no genuine issues of material fact exist and there is an absence of evidence to




                                                26
Case 6:11-cv-01649-CEH-TBS Document 50 Filed 08/01/13 Page 27 of 27 PageID 2040



 support the causes of action in Plaintiff’s Amended Complaint.   Defendant is entitled to

 judgment in its favor as a matter of law.

        Accordingly, it is hereby ORDERED and ADJUDGED:

    1. Defendant Lockheed Martin Corporation’s Motion for Summary Judgment (Doc. 26) is

        GRANTED.

    2. The Clerk is directed to terminate any pending motions and deadlines as moot, enter

        judgment in favor of Defendant, and close this case.

        DONE and ORDERED in Orlando, Florida on August 1, 2013.




 Copies furnished to:
 Counsel of Record
 Unrepresented Parties-```




                                               27
